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                                                                                                            Marilyn Burgess - District Clerk Harris County
                                                                                                                                 Envelope No. 36752553
                                                                                                                                          By: Lisa Thomas
                                                                                                                              Filed: 9/12/2019 12:23 PM

                                                                  C A U S E NO. 2018-31578


                           GULF COAST ASPHALT                                                IN   TH E   D IS TR IC T C O U R T    OF
                           C O M P A N Y , LLC

                                                   Plaintiff                                      H A R R IS C O U N TY , T E X A S
                           v.

                           V ITO L I N C .,
                                                 Defendant                                     295 TH J U D IC IA L D IS T R IC T

                                          C OUNTERCLAIMANT AND T HIRD -P ARTY
                               P LAINTIFF V ITOL I NC .’ S S ECOND A MENDED C OUNTERCLAIMS ,
                           T HIRD -P ARTY P ETITION , AND A PPLICATION FOR I NJUNCTIVE R ELIEF

                                  Counterclaimant and third-party plaintiff Vitol Inc. (“Vitol”) files these Second Amended

                          Counterclaim and Third-Party Petition against plaintiff and Counter-Defendant Gulf Coast Asphalt

                          Company, LLC (“GCAC”) and third-party defendants Arthur J. Brass (“Brass”) and Trifinery,

                          Inc. (“Trifinery”) (Brass and Trifinery collectively “Third-Party Defendants”).

                                                                          RELIEF
                                  1.          Counterclaimant and third-party plaintiff Vitol seeks monetary relief over

                          $1,000,000 and non-monetary relief. Tex. R. Civ. P. 47(c)(5).

                                                                         PARTIES
                                  2.          Vitol is a Delaware corporation with its principal place of business at 2925

                          Richmond Avenue, Houston, Texas 77098 and has already entered an appearance.
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                                  3.          GCAC is an Alabama corporation with its principal place of business at 1990 Post
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                          Oak Blvd., Suite 2400, Houston, Texas 77056 and has already entered an appearance.

                                  4.          Brass is an individual residing at 2508 Pelham Drive, Houston, Texas 77019. He
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                          may be served at his residence or wherever he may be found.
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                                 5.      Trifinery is a Texas corporation with the same principle place of business as GCAC

                          at 1990 Post Oak Blvd., Suite 2400, Houston, Texas 77056. Trifinery may be served through its

                          registered agent, Joseph Mattingly Jr., at 1990 Post Oak Blvd., Suite 2400, Houston, Texas 77056.

                                                                  J URISDICTION
                                 6.      The Court has subject-matter jurisdiction over the lawsuit because the amount in

                          controversy exceeds this Court’s minimum jurisdictional requirements.

                                                                        V ENUE
                                 7.      Venue is proper in Harris County because the facts giving rise to Vitol’s causes of

                          action occurred in Harris County. Tex. Civ. Prac. & Rem. Code § 15.002(a)(1). Additionally,

                          GCAC and Trifinery’s respective principal offices are in Harris County, and Brass resides in Harris

                          County. Id. § 15.002(a)(2) and (3).

                                                    S UMMARY       OF   R ELIEF R EQUESTED

                          A. Factual Background

                                 8.      Beginning in 2017, Vitol provided millions of dollars in bridge financing, product,

                          and hedging services to GCAC based on GCAC and Brass’s representations and requests. In

                          exchange for the bridge financing and hedging services, Brass/GCAC represented and promised

                          that Vitol would be repaid the amounts loaned with interest.

                                         GCAC is owned 50% / 50% by two members: Trifinery and Joyce Brass, Brass’s
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                                 9.

                          mother. Brass is the President of GCAC. Trifinery is a holding company solely owned by Brass,
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                          who is its only officer. At all relevant times, Brass exercised and still exercises complete control

                          over GCAC and Trifinery. A former Brass associate recently raised the alarm and alerted Vitol
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                          that Brass has been using his entities to perpetrate a fraud in which Brass has illegitimately




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                          siphoned money held by his entities for his personal use. On information and belief, funds provided

                          by or owed to Vitol have been misappropriated by Brass through his entities.

                                 10.     Although GCAC/Brass made a few payments to Vitol in late 2017 and early 2018

                          pursuant to the financing arrangement and as an inducement to obtain more funds from Vitol,

                          GCAC/Brass subsequently failed and refused to repay approximately $9 million in bridge

                          financing and $6 million in hedging costs despite repeated demands from Vitol. The debt remains

                          due and interest continues to accrue. During the period of time in which Brass pretended to discuss

                          his debt with Vitol, on information and belief, Brass fraudulently transferred money from GCAC

                          to himself, using GCAC as his own personal checkbook. This despite the fact that the money held

                          by GCAC had been provided by Vitol and/or was owed to Vitol.

                                 11.     GCAC, Brass, and their associates made material misrepresentations to induce

                          Vitol to provide these millions of dollars in bridge financing, product, and hedging services.

                          According to a former Brass associate, Brass siphoned funds from GCAC for no legitimate

                          business purpose. On information and belief, this money was used by Brass to fund his lavish

                          lifestyle. GCAC and Brass either knew GCAC would be unable to repay and/or had no intention

                          to repay. The statements made to Vitol were false when made or were made recklessly without

                          knowledge of their truth and Vitol relied on such statements to its detriment.

                                 12.     Upon information and belief, GCAC has failed to repay Vitol because of a lack of
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                          financial resources and inability to pay its debts and obligations. Vitol’s recent investigations have

                          similarly indicated Counter-Defendant and Third-Party Defendants are insolvent or are likely to
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                          become insolvent because they are not paying their debts when due. Vitol has learned through its
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                          investigation that Vitol is not the only party aggrieved by Counter-Defendant and Third-Party

                          Defendants’ inability to pay debts timely.



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                                 13.     Upon information and belief: (i) Brass has been using GCAC and Trifinery as alter

                          egos for his own illegitimate and fraudulent purposes; (ii) GCAC, Brass, and associated entities

                          and individuals have comingled funds and have ignored corporate distinctions; (iii) at Brass’s

                          direction through his role as President, beneficial owner, and de facto member of GCAC, GCAC

                          has been utilized to funnel significant funds to Brass and/or and other insiders/related entities with

                          intent to hinder, delay, or defraud GCAC’s creditors, including Vitol; and (iv) the funds Brass

                          misappropriated are traceable to transactions financed by Vitol and were used by Brass for his own

                          direct and personal benefit and to shield GCAC’s assets from collection.

                          B. Breach of Contract

                                 14.     Vitol incorporates by reference the factual statements set forth above.

                                 15.     GCAC and Vitol had an agreement by which Vitol provided bridge financing,

                          product, and hedging services to GCAC that GCAC was obligated to repay with interest.

                                 16.     GCAC breached its agreement with Vitol by refusing to repay approximately $9

                          million in bridge financing and $6 million in hedging costs.

                                 17.     Vitol has suffered damages of approximately $15 million, not including interest,

                          which continues to accrue, and consequential damages.

                          C. Fraud

                                 18.     Vitol incorporates by reference the factual statements set forth above.
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                                 19.     GCAC and Brass made material misrepresentations to induce Vitol to provide

                          millions of dollars in bridge financing, product, and hedging services that they either knew GCAC
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                          would be unable to repay and/or had no intention to repay.
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                                 20.     GCAC and Brass’s statements were false when made or were made recklessly

                          without knowledge of their truth and Vitol relied on such statements to its detriment.



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                                 21.     As a result of GCAC and Brass’s misrepresentations, Vitol has suffered damages

                          in the amount of approximately $15 million. In addition to its actual damages, Vitol seeks an award

                          of exemplary damages and the imposition of a constructive trust.

                          D. Quantum Meruit

                                 22.     Vitol incorporates by reference the factual statements set forth above.

                                 23.     Vitol provided valuable bridge financing, product, and hedging services to GCAC

                          and GCAC accepted Vitol’s bridge financing, product, and hedging services. GCAC had notice

                          that Vitol expected to be compensated for its bridge financing, product, and hedging services. Vitol

                          is owed approximately $15 million as the reasonable value of its services.

                          E. Conversion

                                 24.     Vitol incorporates by reference the factual statements set forth above.

                                 25.     Counter-Defendant and Third-Party Defendants have wrongfully exercised

                          dominion over personal property belonging to Vitol. Vitol seeks the return of its property or

                          payment received by Counter-Defendant and Third-Party Defendants.

                          F. Declaratory Judgment: Proposed JMA is not an Enforceable Contract

                                 26.     Vitol incorporates by reference the factual statements set forth above.

                                 27.     A dispute has arisen between GCAC and Vitol concerning the Proposed JMA. Vitol

                          requests that the Court enter a judgment declaring that the Proposed JMA is not an enforceable
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                          contract between Vitol and GCAC; or, in the alternative, that GCAC may not recover the damages

                          its seeks under the Proposed JMA.
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                                 28.     Vitol is entitled to recover its reasonable and necessary attorney’s fees in relation
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                          to the declaratory judgment sought against GCAC.




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                          G. Fraudulent Transfer under Chapter 24 of Texas Business & Commerce Code

                                 29.     Vitol incorporates by reference the factual statements set forth above.

                                 30.     GCAC is owned by two members: Trifinery, Inc., a holding company owned solely

                          by Brass, and Joyce Brass, Brass’s mother.

                                 31.     Upon information and belief, GCAC and Brass have comingled funds.

                                 32.     Upon information and belief, GCAC is subject to Brass’s complete control. At

                          Brass’s direction, GCAC has transferred significant funds out of its accounts to Brass with intent

                          to hinder, delay, or defraud GCAC’s creditors.

                                 33.     Upon information and belief, despite Vitol’s claim for approximately $15 million,

                          GCAC and Brass have transferred these comingled funds and/or other property with the intent to

                          hinder, delay, and/or defraud creditors of Counter-Defendant and Third-Party Defendants,

                          including Vitol. Brass and GCAC are insiders and affiliates of one another, and transfers have been

                          made amongst those insiders and affiliates after Vitol’s claims arose against GCAC. In other

                          words, Brass transferred the funds and/or property with the intent of preventing Vitol from

                          collecting amounts owed by Counter-Defendant and Third-Party Defendants.

                                 34.     Upon information and belief, Counter-Defendant and Third-Party Defendants are

                          insolvent because they are not paying their debts when due. Vitol has learned through its

                          investigation that Vitol is not the only party aggrieved by Counter-Defendant and Third-Party
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                          Defendants’ inability to pay debts timely.

                                 35.     As a result of Counter-Defendant and Third-Party Defendants’ fraudulent transfer,
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                          Vitol has suffered damages.
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                                 36.     Vitol seeks to avoid all fraudulent transfers between GCAC, Brass, Trifinery, Joyce

                          Brass, and other related persons/entities to the extent necessary to satisfy Vitol’s claims.

                                 37.     Vitol is entitled to recover costs and reasonable and necessary attorney’s fees under

                          Section 24.013 of the Texas Business & Commerce Code.

                          H. Unjust Enrichment

                                 38.     Vitol incorporates by reference the factual statements set forth above.

                                 39.     Counter-Defendant and Third-Party Defendants have been unjustly enriched in the

                          amount of approximately $15 million by uncompensated bridge financing, product, and hedging

                          services provided by Vitol. Equity demands that this amount be repaid to Vitol by Counter-

                          Defendant and Third-Party Defendants. Vitol also seeks a constructive trust on any funds and/or

                          proceeds still held by Counter-Defendant and Third-Party Defendants.

                          I. Attorney’s Fees

                                 40.     Vitol incorporates by reference the factual statements set forth above.

                                 41.     As a result of GCAC’s breach of contract, Vitol has incurred and continues to incur

                          reasonable and necessary attorneys’ fees.

                                 42.     Vitol is entitled to recover its reasonable and necessary attorneys’ fees from GCAC

                          under Tex. Civ. Prac. & Rem. Code 38.001.

                                 43.     Vitol is also entitled to recover costs and reasonable and necessary attorney’s fees
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                          from Counter-Defendant and Third-Party Defendants under Section 24.013 of the Texas Business

                          & Commerce Code and the Texas Declaratory Judgment Act.
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                                   A PPLICATION        FOR T EMPORARY R ESTRAINING                   O RDER     AND
                                                        T EMPORARY I NJUNCTIONS
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                                 44.     Vitol incorporates by reference the factual statements set forth above.




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                                  45.     Based upon the above-described facts, Vitol seeks a temporary restraining order

                          and temporary injunction: (1) preventing GCAC from transferring property or making distributions

                          to its members, Brass, or other related insiders/entities until after the resolution of this litigation,

                          and (2) preventing Brass from transferring his property, by sale or otherwise, including his real

                          property located in or around Hockley, Texas and all proceeds from any sale or transfer of that real

                          property, unless and until Brass can establish that the funds used to purchase, pay for, or renovate

                          such property are not traceable to Vitol. Vitol is entitled to recover the approximately $15 million

                          of value it provided Counter-Defendant and Third-Party Defendants, and given the apparent

                          insolvency of Counter-Defendant and Third-Party Defendants, an injunction is necessary to

                          prevent the dissipation of Counter-Defendant and Third-Party Defendants remaining assets to

                          frustrate collection.

                                  46.     Section 24.008(a)(3)(A) of Tex. Bus. & Comm. Code allows creditors to obtain

                          injunctive relief against further disposition by the debtor or a transferee, or both, of the assets

                          transferred or of other property. Sargent v. Al Saleh, 512 S.W.3d 399 (Tex. App.—Corpus Christi

                          2016, no pet.) (citing Tex. Bus. & Comm. Code § 24.008(a)(3)(A)).

                                  47.     Section 65.011 of the Texas Civil Practice and Remedies Code allows a court to

                          issue an injunction when a party performs or is about to perform an act relating to the subject of

                          pending litigation and the act would tend to render the judgment in that litigation ineffectual, or if
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                          irreparable injury to real or personal property is threatened irrespective of any remedy at law.

                                  48.     To obtain injunctive relief, the applicant must plead and prove: (1) a cause of action
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                          against the defendant; (2) a probable right to the relief sought; and (3) a probable, imminent, and
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                          irreparable injury in the interim. Butnaru v. Ford Motor Co., 84 S.W.3d 198, 204 (Tex. 2002). As

                          the Texas Supreme Court has recognized, “[t]he purpose of a TRO is to preserve the status quo”



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                          pending the Court’s more considered evaluation of the need for temporary injunctive relief. In re

                          Newton, 146 S.W.3d 648, 651 (Tex. 2004). Further, an applicant for a temporary injunction does

                          not have an adequate remedy at law if the non-movant party is insolvent. Surko Enters. v. Borg-

                          Warner Acceptance Corp., 782 S.W.2d 223, 225 (Tex. App.—Houston [1st Dist.] 1989, no writ)).

                                  49.     Vitol has multiple causes of action against Counter-Defendant and Third-Party

                          Defendants as described above and it is probable Vitol will recover in this matter. Vitol provided

                          Counter-Defendant and Third-Party Defendants with millions of dollars of bridge financing,

                          physical product, and hedging services, approximately $15 million of which has not been repaid.

                          Counter-Defendant and Third-Party Defendants made multiple payments to Vitol in late 2017 and

                          early 2018 in recognition of their obligation to repay Vitol. Vitol has kept extensive records of

                          such transactions and has provided these to Counter-Defendant and Third-Party Defendants, who

                          still refuse to pay.

                                  50.     Previous discussions indicate that the reason for Counter-Defendant and Third-

                          Party Defendants’ failure to repay Vitol is the lack of financial wherewithal and inability to pay

                          their debts and obligations. Upon information and belief, GCAC in particular has been unable to

                          pay its debts when due. Vitol’s recent investigations have similarly indicated Counter-Defendant

                          and Third-Party Defendants are insolvent. Accordingly, Vitol is entitled to an injunction to prevent

                          any further dispersal of Counter-Defendant and Third-Party Defendants’ remaining assets.
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                                  51.     If an injunction is not granted, the harm to Vitol is imminent because Counter-

                          Defendant and Third-Party Defendants will likely dispose of property and assets that rightfully
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                          belong to Vitol. Further, if GCAC is allowed to make distributions to its members, including Brass,
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                          those funds may be lost forever. Vitol has no adequate remedy at law if it cannot recover what it

                          is owed from Counter-Defendant and Third-Party Defendants due to their insolvency.



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                                 52.     The risk of harm to Counter-Defendant and Third-Party Defendants by granting the

                          injunction is minimal. The injunction is temporary in nature, limited in scope, and directed

                          specifically to halt the disposal of what does not rightfully belong to Counter-Defendant and Third-

                          Party Defendants. Granting the injunction will not interrupt GCAC’s daily operations.

                                 53.     Vitol asks the Court to set its application for a temporary restraining order and

                          temporary injunction for hearing and, after hearing, issue a temporary restraining order, temporary

                          injunction against Counter-Defendant and Third-Party Defendants.

                                                                       P RAYER
                                 Defendant Vitol Inc. respectfully requests that the Court render judgment for Vitol on its

                          counterclaims, issues temporary injunctive relief, and that Vitol be awarded such other and further

                          relief, both at law and equity, to which it may be justly entitled.


                                                                             By: /s/ Kenneth E. Broughton
                                                                                Kenneth E. Broughton
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                                                                                State Bar No. 24046725
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                                                                             Attorneys for Defendant and
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                                                                             Counterclaimant Vitol Inc.
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                                                        C ERTIFICATE        OF   S ERVICE
                                  I certify that a true and correct copy of the foregoing document was served upon all known
                          parties and counsel of record in accordance with the Texas Rules of Civil Procedure on this 12th
                          day of September, 2019.

                                 William P. Maines
                                 Neil E. Giles
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                                                                       /s/ Kenneth E. Broughton
                                                                       Kenneth E. Broughton
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     I, Marilyn Burgess, District Clerk of Harris
     County, Texas certify that this is a true and
     correct copy of the original record filed and or
     recorded in my office, electronically or hard
     copy, as it appears on this date.
     Witness my official hand and seal of office
     this August 17, 2022


     Certified Document Number:        87099595 Total Pages: 13




     Marilyn Burgess, DISTRICT CLERK
     HARRIS COUNTY, TEXAS




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